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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 SECURE CAM, LLC,
 a Wyoming limited liability company
                                                    Civil Action No. 1:19-cv-00974-RGA
                    Plaintiff

                       v.

 SCHNEIDER ELECTRIC USA, INC.,                      JURY TRIAL DEMANDED
 a Delaware corporation, and

 PELCO, INC.
 a Delaware corporation,

                  Defendants.


            FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Secure Cam, LLC ("Secure Cam"), through its attorneys, complains of

Schneider Electric USA, Inc. ("Schneider"), and alleges the following:

                                            PARTIES

       1.      Plaintiff Secure Cam, LLC is a corporation organized and existing under the laws

of Wyoming that maintains its principal place of business at 30 N. Gould St. STE R, Sheridan,

WY 82801.

       2.      Defendant Schneider Electric USA, Inc. (“Schneider”) is a corporation organized

and existing under the laws of Delaware that maintains its principal place of business at 800

Federal Street Andover, MA, USA 01810, and having a registered office at Corporation Service

Company, 251 Little Falls Drive, Wilmington, DE 19808.

       3.      Defendant Pelco, Inc. (“Pelco”) is a corporation organized and existing under the

laws of Delaware having a registered office at Corporation Service Company, 251 Little Falls

Drive, Wilmington, DE 19808. Upon information and belief based on a press release issued May



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29, 2019 by the Transom Capital Group, Pelco was owned by Schneider, and, on or about May

29, 2019, Schneider sold Pelco to the Transom Capital Group (“Transom”).

                                               JURISDICTION

        4.          This is an action for patent infringement arising under the patent laws of the

United States, Title 35 of the United States Code.

        5.          This Court has exclusive subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1338(a).

        6.          This Court has personal jurisdiction over Defendants, because they are both

Delaware corporations, with registered offices in the State.

                                                   VENUE

        7.          Venue is proper in this District under 28 U.S.C. § 1400(b) because both

Defendants are incorporated in this District’s State. In addition, Secure Cam has suffered harm

in this district.

                                              PATENT-IN-SUIT

        8.          Secure Cam is the assignee of all right, title and interest in United States Patent

No. 6,698,021 (the "‘021 Patent"); (the "Patent-in-Suit"); including all rights to enforce and

prosecute actions for infringement and to collect damages for all relevant times against infringers

of the Patent-in-Suit. Accordingly, Secure Cam possesses the exclusive right and standing to

prosecute the present action for infringement of the Patent-in-Suit by Defendants.

                                              The ‘021 Patent

        9.          The ‘021 Patent is entitled "System and method for remote control of surveillance

devices," and issued February 24, 2004. The application leading to the ‘021 Patent was filed on




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October 12, 1999. A true and correct copy of the ‘021 Patent is attached hereto as Exhibit 1 and

incorporated herein by reference.

          10.   The ‘021 Patent is valid and enforceable.

                         COUNT 1: INFRINGEMENT OF THE ‘021 PATENT

          11.   Secure Cam incorporates the above paragraphs herein by reference.

          12.   Direct Infringement. Defendants have jointly and directly infringed, literally or

by the doctrine of equivalence, one or more claims of the the ‘021 Patent by making, using,

offering to sell and selling a video surveillance and monitoring system, including their

“VideoXpert™ Video Management System (“VMS”),” under the name “Pelco™ by Schneider

Electric.” Defendants’ infringement is shown in Exhibit 2, attached hereto, which is a claim

chart comparing Claim 43 of the ‘021 Patent to “Pelco™ by Schneider Electric.” As set forth in

these charts, “Pelco™ by Schneider Electric” practiced the technology claimed by the ‘021

Patent.

          13.   On information and belief, numerous other devices that infringe the claims of the

‘021 Patent have been made, used, sold, imported, and offered for sale by Defendants and/or its

customers.

          14.   In light of the reported sale of Pelco to Transom on or about May 29, 2019,

Plaintiff is unable to determine whether Schneider is continuing to make, use, offer to sell or sell

the accused instrumentalities. However, Schneider is jointly and severally liable for at least all

infringement through the sale of Pelco to Transom, even if Schneider thereafter did not further

infringe.

          15.   The filing of the original Complaint on May 28, 2019 constituted notice and

actual knowledge in accordance with 35 U.S.C. § 287.




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       16.          Secure Cam is entitled to recover damages adequate to compensate for

Defendant’s infringement.

                                                  JURY DEMAND

       17.          In accordance with Rule 38(b) of the Federal Rules of Civil Procedure, Secure

Cam respectfully requests a trial by jury on all issues so triable.

                                               PRAYER FOR RELIEF

WHEREFORE, Secure Cam respectfully requests the following relief:

      A.        A judgment that the ‘021 Patent is valid and enforceable;

      B.        A judgment that Defendants have infringed one or more claims of the ‘021 Patent;

      C.        An accounting of all damages not presented at trial;

      D.        A judgment that awards Secure Cam all appropriate damages under 35 U.S.C. §

                284 for Defendants’ past infringement, and any continuing or future infringement

                of the Patent-in-Suit, up until the date such judgment is entered, including pre- or

                post-judgment interest, costs, and disbursements as justified under 35 U.S.C. § 284

                and, if necessary, to adequately compensate Secure Cam for Defendants’

                infringement, an accounting:

               i.     that this case be declared exceptional within the meaning of 35 U.S.C. § 285

                      and that Secure Cam be awarded its reasonable attorneys’ fees against

                      Defendants that it incurs in prosecuting this action;

              ii.     that Secure Cam be awarded costs, and expenses that it incurs in prosecuting

                      this action; and

             iii.     that Secure Cam be awarded such further relief at law or in equity as the Court

                      deems just and proper.




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Dated: June 5, 2019                 Respectfully submitted,

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